    Case 2:09-md-02047-EEF-MBN Document 23055 Filed 01/12/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 IN RE: CHINESE-MANUFACTURED DRYWALL                             *
 PRODUCTS LIABILITY LITIGATION                                   *
                                                                 *           CIVIL ACTION
                                                                 *
                                                                 *            MDL NO. 2047
                                                                 *
                                                                 *           SECTION L (5)
 THIS DOCUMENT RELATES TO:                                       *
 14-cv-2722; 20-cv-3267; 20-cv-3268; 20-cv-3269; 20-             *
 cv-3261; 20-cv-3263; 20-cv-3264; 20-cv-3256; 20-cv-             *
 3258; 20-cv-3259; 20-cv-3265


                                       ORDER & REASONS

        Before the Court is the Motion to Strike Supplemental Claims in Amended Complaints

filed by Knauf Defendants. R. Doc. 23018. The motion is opposed, and Knauf Defendants filed a

Reply. R. Docs. 23046; 23053. During the January 8, 2021 monthly status conference, the Court

asked counsel to explain their positions. The Court now rules as follows.

        On November 23, 2020, the Court severed all Louisiana cases remaining in the Bennett

action so it could retain jurisdiction over cases involving property located in this district. R. Doc.

22980. As a purely administrative matter, the Court instructed the severed plaintiffs to file

amended complaints so they could proceed separate and apart from the Bennett action. Id. at 1-2.

Perhaps out of an abundance of enthusiasm, Plaintiffs in above-captioned actions added paragraphs

to their amended complaints. See R. Doc. 23046 at 2. These paragraphs include new claims

involving 1) failure to test and safely formulate drywall; 2) failure to report defective product

pursuant to the Consumer Product Safety Act (“CPSA”), 15 U.S.C. § 2051, et seq.; 3) failure to

implement a corrective action plan; and 4) failure to notify potential victims or attempt to
    Case 2:09-md-02047-EEF-MBN Document 23055 Filed 01/12/21 Page 2 of 2




implement a plan in violation of the CPSA. Id. Plaintiffs argue that these claims do not constitute

“supplemental pleadings” and the motion to strike should be denied. Id. at 3-7.

        It has been over six years since commencement of the Bennett action, and the Plaintiffs at

issue have amended the Bennett complaint five times. The Court denied Plaintiff’s sixth attempt

in an Order and Reasons dated December 19, 2018 because adding supplemental claims would

unduly prejudice the Knauf Defendants. R. Doc. 21991. With discovery complete in the Bennett

action, allowing new claims to be asserted at this stage would be prejudicial and necessitate the

reopening of discovery. Accordingly,

        IT IS HEREBY ORDERED that Knauf Defendants’ Motion is GRANTED, and any

supplemental claims in the Amended Complaints of plaintiffs Bholanath & Prabha Dhume,

Nathan Junius, Scott & Kim Armstrong, Bonnie & Carl Cordier, Melinda Milam & Clayton

Latimer, Carole Bonney, Cathey & Tommy Gueydan, Funches O. & Sharese Matthews Dixon,

Jawad & Fatme Gharib, inconsistent with R. Doc. 21334 and this Court’s prior rulings are hereby

STRICKEN. It must be noted that the severed claims of Jacques and Sarah Brousseau were

transferred to the Middle District of Louisiana on December 29, 2020, so this Order does not

pertain to these Plaintiffs.



        New Orleans, Louisiana on this 12th day of January 2021.



                                                                   _________________________
                                                                                 Eldon E. Fallon
                                                                       U.S. District Court Judge




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